WILLIAM T. BRUCKNER AND THOMAS H. WILLIS, TRUSTEES, ESTATE OF WILLIAM H. GODAIR, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Bruckner v. CommissionerDocket No. 23730.United States Board of Tax Appeals20 B.T.A. 419; 1930 BTA LEXIS 2134; July 30, 1930, Promulgated *2134  1.  Section 219(b), Revenue Act of 1921, authorizes the deduction, in computing taxable net income of an estate or trust, of any part of the gross income which, pursuant to the terms of the will or deed creating the trust, is during the taxable year paid or permanently set aside for any corporation organized and operated exclusively for charitable purposes.  Held that the purpose of the deduction was to encourage charitable contributions, and, where a will creating a trust contemplates the organization of a corporation for a charitable purpose and the construction of facilities to fulfill that purpose, and the corporation is organized after the death of decedent and the income is paid or permanently set aside for it, and the trustees are engaged in managing and investing the property and in preparing to build and fulfill the charitable purpose, the deduction is not to be denied merely because in the taxable year the facilities have not been constructed and the corporation is not in fact dispensing charity.  2.  The words "organized and operated" were meant to require that the operations of the corporation at all stages should carry out its exclusively charitable purpose, that*2135  both the organization and its operations should be harmoniously in accord with such purpose, and a corporation is not within the category merely because it is so organized if in fact its operations are other than charitable.  Herbert Mayer, Esq., for the petitioner.  Hartford Allen, Esq., for the respondent.  STERNHAGEN *420  The respondent determined overassessments for 1919, 1921, and 1923 and a deficiency of $3,016.70 in the income tax of the petitioner for 1922.  The petitioner contends not only that there is no such deficiency, but also that the amount of $548.50 which it has paid is an overpayment.  The question is whether petitioner is entitled to any deduction, under section 219(b), Revenue Act of 1921, of an amount paid to or permanently set aside for a corporation organized and operated exclusively for charitable purposes as provided in section 214(a)(11)(B).  FINDINGS OF FACT.  William H. Godair died testate October 13, 1914, leaving a net estate, after payment of debts, of a value of approximately $491,000.  His last will and testament was admitted to probate in the Probate Court of Cook County on December 15, 1914.  The will was*2136  contested but its validity was sustained by the decision of the Supreme Court of Illinois rendered October 21, 1922 (rehearing denied December 8, 1922), in the case of . Pursuant to the provisions of the last will and testament, with the exception of minor bequests of the aggregate value of $6,200, all the rest, residue and remainder of the testator's estate was given to trustees (first) for the purpose of establishing a $60,000 trust fund, the income from which was to be paid to Harriet A. Godair for and during her lifetime and upon her death to be paid to the Godair Memorial Old Peoples Home; (second) for the purpose of establishing a trust fund of $22,-00 in cash to pay the income therefrom *421  to Daniel R. Spooner during his life, and upon his death to pay the principal to the Godair Memorial Old Peoples Home; and (third) all the remainder of the residuary estate was to be divided by the trustees, one-third to Harriet A. Godair and Two-thirds to be held by the trustees and paid over to the Godair Memorial Old Peoples Home.  Harriet A. Godair was given the option to select as a portion of her one-third of the estate a*2137  certain parcel of real estate described in the will at a valuation of $140,000 provided she gave notice within sixty days from the appointment of the executors by the Probate Court of Cook County.  Harriet A. Godair did not elect to take this piece of real estate from the trustees and, furthermore, requested the trustees not to establish the $60,000 trust fund as provided in the will, but made an oral agreement with Adolph L. Benner, one of the executors and trustees under the will, that she would take in lieu of all her interest in said estate the sum of $1,000 per month during her life.  The will further provided that the trustees therein appointed should hold the portion of the trust estate devised and bequeathed to the Godair Memorial Old Peoples Home until it was incorporated and then the same was to be given and conveyed to the Home.  The will also provided that of the amount given to the Home not more than one-third should be used for the cost of the land, construction of buildings thereon and equipment for said Home, and the remaining two-thirds should be held for the endowment of said Home.  The trustees of the Home and the trustees under the will are the same.  The trustees*2138  of the residuary estate have accumulated and added to the corpus, have changed some of the investments to make them more suitable for the endowment, and have permanently set aside all of the income from the estate from its inception down to the present time, except the $1,000 monthly payments made to the widow, Harriet A. Godair, for the Godair Memorial Old Peoples Home.  The Godair Memorial Old Peoples Home is a charitable corporation organized, not for pecuniary profit, on February 17, 1919, under the laws of the State of Illinois.  The trustees from time to time made investigations of the cost of maintenance of such a home and in regard to the various types of buildings to be erected for the purpose of the Home, and decided that a two-story building should be erected, plans for which have been drawn.  The erection was, at the time of trial, expected to commence in the spring of 1930.  The buildings will house fifty old people, the average cost of the maintenance of which will be approximately $600 per year per person.  The trust estate on December 31, 1929, amounted to over $990,000.  The trustees of the estate are acting without compensation.  *422  Petitioner filed a*2139  claim for refund with the collector at Chicago, Ill., on April 2, 1925, covering payments of taxes made for the years 1917 to 1923, both inclusive, including $548.50 paid for the year 1922.  OPINION.  STERNHAGEN: The income of the trust established by the decedent is taxable by virtue of the Revenue Act of 1921, section 219.  In determining such taxable net income a deduction, without limitation, is allowed by subdivision (b) of "any part of the gross income which, pursuant to the terms of the will or deed creating the trust, is during the taxable year paid or permanently set aside for the purposes and in the manner specified in paragraph (11) of subdivision (a) of section 214." Section 214(a)(11) provides for the deduction of: (11) Contributions or gifts made within the taxable year to or for the use of: * * * (B) any corporation, or community chest, fund, or foundation, organized and operated exclusively for religious, charitable, scientific, literary, or educational purposes, including posts of the American Legion or the women's auxiliary units thereof, or for the prevention of cruelty to children or animals, no part of the net earnings of which inures to the benefit of any*2140  private stockholder or individual; * * * The respondent disallowed any deduction in respect of the income credited by petitioner to the Home because, while conceding that such amounts were paid or permanently set aside for the corporation and that the corporation was organized for a charitable purpose, in his view the corporation was not during the year in question operated for such purpose and hence was not within the desciption of the statute.  He contends that since during the taxable year the Home building was not yet constructed and the Home was not in fact dispensing charity, but was only preparing to build and fulfill its charitable purpose, it was not yet so operated.  He cites no authority for this interpretation and insists that the decision in Morgan v. Nauts, 6 Am.Fed. Tax Rep. 8011, which is contrary, is not correct.  The deduction was given in the statute to encourage charitable contributions.  . The fact pointed out by respondent that during the course of legislation the Revenue Bill of 1918 was altered so as to restrict the deduction granted in the House bill of amounts paid or set aside*2141 for charitable purposes to one of amounts paid or set aside for corporations organized and operated for such purposes would signify primarily, in our opinion, a limitation to corporations and the exclusion of unincorporated charities.  The qualifying words "organized and operated" were, we think, meant to require that its operations at all stages should carry out its exclusively charitable purpose, that both the organization and its operations should be harmoniously in accord with such purpose, and that a corporation is not within the category merely because it is so *423  organized if in fact its operations are other than charitable.  The charitable destination of its income is the test rather than the immediate manner of its receipt.  ; . Its conservation during a wise consideration of how best to fulfill the charitable purpose is not at variance with the clear legislative purpose of the deduction, and the statute should not be so narrowly read as to exclude situations so plainly within its beneficent intendment.  The respondent reads*2142  the act as if the Home itself must be organized and operated.  Instead, section 219(b) refers to the purpose and manner specified in 214(a)(11), and the latter section refers to the corporation as necessary to be organized and operated.  Clearly a corporation is operated for charitable purposes within the meaning of this statute when it actively sells some of its property in order to invest it more suitably for the charitable purpose of its creation and also employs an architect and otherwise engages in preliminary research to carry forward its main project of building and maintaining a charitable home.  We agree with the decision in Morgan v. Nauts, supra, and hold that the amounts which the the petitioner paid to or set aside for the charitable corporation in 1922 are deductible.  , cited by respondent, construing the personal-property-tax exemption of Ohio, is not controlling of the construction of the Federal statute before us.  Judgment will be entered under Rule 50.